   Case 1:19-cv-02228-LPS Document 7 Filed 01/22/20 Page 1 of 2 PageID #: 149
                                          OFFICE OF THE CLERK
                                    UNITED STATES DISTRICT COURT
                                         DISTRICT OF DELAWARE
        John A Cerino                                                              LOCK.BOX 18
           CLERK                                                                  844 KING STREET
                                                                                U.S. COURTI:IOUSE
                                                                           WlLMINGTON, DELAWARE 19801
                                                                                  (302) 573-6 I 70




                                            January 15, 2020

Register in Chancery
Court of Chancery
New Castle County Courthouse
500 N. King Street
Wilmington, DE 19801

                    RE:    D. DEL. Case No. 19-2228-LPS Pliscott v. Disbrow

Dear Clerk:

        Pursuant to the Order of Remand dated January 13, 2020 signed by Judge Leonard P.
Stark remanding the above case to your Court, enclosed please find the following items:

         (X)        Certified copy of the USDC docket sheet
         (X)        Certified copy of the Order of Remand

      Please note that the electronic case filings can be accessed through PACER by selecting
the CM/ECF link on our web site at www.ded.uscourts.gov.

         Please acknowledge receipt of the above items on the attached copy of this letter.


                                                Sincerely,
                                                John A. Cerino, Clerk of Court



                                                By:   ~Tk
                                                       DepuClerk

Encs.
 ,--_
 :.( ·7 -·      '         ·---~ .
                               Case 1:19-cv-02228-LPS Document 7 Filed 01/22/20 Page 2 of 2 PageID #: 150




OFFICIAL BUSINESS
PENALTY FOR PRIVATE USE $300
                                                                                                                     II IIII                           NO POSTAGE
                                                                                                                                                       NECESSARY
                                                                                                                                                        IF MAILED
                                                                                                                                                          INTHE
                                                                                                                                                      UNITED STATES




                                       BUSINESS REPLY MAIL
                                    FIRST CLASS MAIL   PERMIT NO . 12615   WASHINGTON , DC

                                                POSTAGE WILL BE PAID BY ADDRESSEE




             ·.s                         OFFICE OF THE CLERK
            ..,
            •• f

                                         UNITED STATES DISTRICT COURT
                                         844 N KING ST UNIT 18
                                         WILMINGTON DE 19801-3570


                                                                              1••• 111.1 •• 1•• 1.11 •••••• 11 •• 11 •• I, 1.1 ••• 111 .... 11 •• 1
